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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                    Chapter 7

    HERITAGE HOME GROUP, LLC, et al.,1                        Case No. 18-11736 (KG)

                             Debtors.                         (Jointly Administered)

    HERITAGE HOME GROUP, LLC,

                             Plaintiff,

    v.

    Angelus Furniture Outlet, Inc.,                           Adv. Proc. No. 18-50968 (KG)
    Cabot House Inc.,                                         Adv. Proc. No. 19-50000 (KG)
    Campbell & Co. Inc.,                                      Adv. Proc. No. 19-50001 (KG)
    Plum Management LLC,                                      Adv. Proc. No. 19-50002 (KG)
    Quality Furniture, LLC,                                   Adv. Proc. No. 19-50003 (KG)
    Samalco LLC,                                              Adv. Proc. No. 19-50004 (KG)
    The Annex LLC d/b/a Thomasville Drexel,                   Adv. Proc. No. 19-50005 (KG)
    TOW of Wisconsin, Inc.,                                   Adv. Proc. No. 19-50006 (KG)

                           Defendants.

                  NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                HEARING ON MAY 16, 2019 AT 10:00 A.M. (EASTERN TIME)2

     The hearing will be held before the Honorable Kevin Gross, United States Bankruptcy
          Judge, at the United States Bankruptcy Court for the District of Delaware,
                     824 North Market Street, 6th Floor, Courtroom No. 3,
                                 Wilmington, Delaware 19801.




1
  The Debtors in these cases, along with the last four digits of each Debtor’s tax identification number, as applicable,
are: Heritage Home Group LLC (9506); HH Global II B.V. (0165); HH Group Holdings US, Inc. (7206); HHG Real
Property LLC (3221); and HHG Global Designs LLC (1150). The Debtors’ corporate headquarters is located at
1925 Eastchester Drive, High Point, North Carolina 27265.
2
 Any party participating telephonically should make arrangements through CourtCall by telephone (866-582-6878)
or facsimile (866-533-2946), no later than 12:00 p.m., one (1) business day before the hearing.
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ADJOURNED MATTERS:

1.      Motion of Official Committee of Unsecured Creditors for Entry of an Order Granting
        Standing and Authority to Prosecute and Settle Claims on Behalf of Debtors’ Estates
        [Filed 10/9/18] (Docket No. 358)

        Response Deadline:       October 23, 2018 at 4:00 p.m. (ET). Extended solely with respect
                                 to the Debtors and the Lenders

        Responses Received: None at this time.

        Related Documents: None at this time.

        Status: This matter is continued to a date to be determined.

2.      Motion of Official Committee of Unsecured Creditors for Entry of an Order Granting
        Derivative Standing and Authority to Prosecute and Settle Claims on Behalf of the
        Debtors’ Estates [Filed 12/13/18] (Docket No. 504)

        Response Deadline:       December 27, 2018 at 4:00 p.m. (ET). Extended solely with
                                 respect to the Debtors and the Lenders

        Responses Received: None at this time.

        Related Documents: None at this time.

        Status: This matter is continued to a date to be determined.

3.      Pre-trial conferences with respect to the above-captioned adversary proceedings.

        Answer Deadline: February 4, 2019. Extended to March 4, 2019

        Responses Received:

                   A. Motion by Defendant for an Order Enlarging Deadline to Move Pursuant to
                      Rule 12(b)(1)-(7) [Filed 2/4/19] (Various Docket Nos. in each of the above-
                      captioned adversary proceedings)

                   B. Defendant’s Motion to Dismiss Complaint [Filed 2/26/19] (Various Docket
                      Nos. in each of the above-captioned adversary proceedings)

                   C. Memorandum of Law in Support of Motion by Defendant to Dismiss
                      Complaint [Filed 2/26/19] (Various Docket Nos. in each of the above-
                      captioned adversary proceedings)



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        Related Documents:

                   A. Complaint (Adv. Docket No. 1 in each of the above-captioned adversary
                      proceedings)

                   B. Amended Complaint (Re Adv. Proc. No. 18-50968) [Filed 1/4/19] (Adv.
                      Docket No. 3)

                   C. Summons and Notice (Various Docket Nos. in each of the above-captioned
                      adversary proceedings)

                   D. Debtors’ Response in Opposition to Motion by Defendant for an Order
                      Enlarging Deadline to Move Pursuant to Rule 12(B)(1)-(7) [Filed 2/19/19]
                      (Various Docket Nos. in each of the above-captioned adversary proceedings)

                   E. [Signed] Order Approving Stipulation (I) Extending Defendant’s Time To
                      Answer Or Otherwise Respond To Complaint And (II) Setting Briefing
                      Schedule On Defendant’s Motion To Dismiss Complaint [Filed 3/1/9]
                      (Various Docket Nos. in each of the above-captioned adversary proceedings)

        Status: This matter is continued to a date to be determined.

UNCONTESTED MATTERS UNDER CNO:

4.      Motion of Alfred T. Giuliano, Chapter 7 Trustee, for an Order (I) Establishing the
        Deadline to File Requests for Payment of Certain Administrative Expense Claims
        Pursuant to 11 U.S.C. Section 503(b), (II) Approving Form and Manner of Notice
        Thereof and, (III) Granting Related Relief [Filed 4/25/19] (Docket No. 714)

        Response Deadline: May 9, 2019 at 4:00 p.m. (ET).

        Responses Received: None.

        Related Documents:

                   A. Certification of No Objection Regarding Motion of Alfred T. Giuliano,
                      Chapter 7 Trustee, for an Order (I) Establishing the Deadline to File Requests
                      for Payment of Certain Administrative Expense Claims Pursuant to 11 U.S.C.
                      Section 503(b), (II) Approving Form and Manner of Notice Thereof and, (III)
                      Granting Related Relief [Filed 5/10/19] (Docket No. 727)

        Status: A certification of no objection has been filed and counsel respectfully requests
        entry of the proposed form of order at the Court’s convenience.




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5.      Motion of Alfred T. Giuliano, Chapter 7 Trustee, for Order (A) Enlarging the Period
        Within Which the Chapter 7 Trustee May Remove Actions and (B) Granting Related
        Relief [Filed 4/30/19] (Docket No. 715)

        Response Deadline: May 9, 2019 at 4:00 p.m. (ET).

        Responses Received: None.

        Related Documents:

                   A. Certification of No Objection Regarding Motion of Alfred T. Giuliano,
                      Chapter 7 Trustee, for Order (A) Enlarging the Period Within Which the
                      Chapter 7 Trustee May Remove Actions and (B) Granting Related Relief
                      [Filed 5/10/19] (Docket No. 728)

        Status: A certification of no objection has been filed and counsel respectfully requests
        entry of the proposed form of order at the Court’s convenience.

FINAL FEE APPLICATION APPROVAL:

6.      Final Fee Applications of Estate-Compensated Professionals

        Related Documents:

                   A. See Exhibit A, attached hereto

        Status: This matter will be going forward.


Dated: May 14, 2019                         PACHULSKI STANG ZIEHL & JONES LLP

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